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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF ARKANSAS
                          DELTA DIVISION

RODERICK DEMARIUS FREEMAN                                           PLAINTIFF
ADC #153597

V.                         No. 2:23-CV-13-LPR-JTR

HARPER, Correctional Officer (Turnkey),
Crittenden County Detention Center, et al.                     DEFENDANTS

                                    ORDER

      The Motion to Substitute Counsel for Separate Defendant Marni Dickerson

(Doc. 22) is GRANTED. Attorney Joe M. Rogers is terminated as attorney of record

for Defendant Dickerson. Attorney Colin C. Heaton is substituted in place of

Attorney Rogers.

      SO ORDERED, this 24th day of October, 2023.



                                     ____________________________________
                                     UNITED STATES MAGISTRATE JUDGE
